EXHIBIT 5

[REDACTED]
                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

 JOHNNY M. HUNT,                                  Case No. 3:23-cv-00243
                                                  Judge Campbell
                       Plaintiff,                 Magistrate Judge Frensley
        v.
                                                  NOTICE OF DEPOSITION
 SOUTHERN BAPTIST CONVENTION;
 GUIDEPOST SOLUTIONS LLC; and
 EXECUTIVE COMMITTEE OF THE
 SOUTHERN BAPTIST CONVENTION,

                       Defendants.



       PLEASE TAKE NOTICE that, pursuant to Rules 30 and 45 of the Federal Rules of Civil

Procedure, on April 16, 2024, Defendant Guidepost Solutions LLC, by its attorneys, Riley &

Jacobson, PLC, and Mintz & Gold LLP, will take the deposition upon oral examination of Alisa

Womack, 1053 8th Avenue, Graceville, Florida 32440. The deposition will begin at 10:00 a.m.,

Eastern Time, at Cole, Scott & Kissane P.A., 2873 Remington Green Cir., Tallahassee, FL 32308,

and shall continue from day to day until completed.

       The deposition shall be conducted before a notary public or other officer authorized to

administer oaths and will be recorded via stenographic and videographic means. Counsel is invited

to attend and participate as provided for under the Federal Rules of Civil Procedure.
Respectfully submitted,

s/John R. Jacobson
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Counsel for Guidepost Solutions LLC
                                  CERTIFICATE OF SERVICE
       I hereby certify that a true and correct copy of the foregoing has been served via electronic
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 Counsel for the Southern Baptist Convention


on this 2nd day of April, 2024.



                                                     s/John R. Jacobson
